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                     UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION

UNITED STATES OF AMERICA

v.                                             Case Number: 4:24−cr−00224

Enrique Roberto Cuellar
Imelda Rios Cuellar



                            NOTICE OF RESETTING

A proceeding has been reset in this case as to Enrique Roberto Cuellar, Imelda
Rios Cuellar as set forth below.

Before the Honorable Lee H Rosenthal
PLACE:
by video


DATE: 12/10/2024
TIME: 01:30 PM
TYPE OF PROCEEDING: Interim Pretrial Conference


Date: November 29, 2024                                     Nathan Ochsner, Clerk
